Form ntcabuse

211 West Fort Street
Detroit, MI 48226


                                     UNITED STATES BANKRUPTCY COURT
                                           Eastern District of Michigan

                                                Case No.: 11−44385−wsd
                                                      Chapter: 7

In Re: (NAME OF DEBTOR(S))
   Angela Sword Lewis                                         Thomas K. Lewis
   560 Meadowbrook                                            1016 Lincoln, Apt. #1
   Adrian, MI 49221                                           Bettendorf, IA 52722
Social Security No.:
   xxx−xx−3175                                                xxx−xx−5483
Employer's Tax I.D. No.:


                                       STATEMENT OF PRESUMED ABUSE


As required by 11 U.S.C. Sec. 704(b)(1)(A), the United States Trustee has reviewed the materials filed by the
debtor(s). Having considered these materials in reference to the criteria set forth in 11 U.S.C. Sec. 707(b)(2)(A), and,
pursuant to 11 U.S.C. Sec. 704(b)(2), the United States Trustee has determined that:(1) the debtor's(s') case should be
presumed to be an abuse under section 707(b); and (2) the product of the debtor's currently monthly in come,
multiplied by 12, is not less than the requirements specified in section 704(b)(2)(A) or (B). As required by 11 U.S.C.
Sec. 704(b)(2) the United States Trustee shall, not later than 30 days after the date of this Statement's filing, either file
a motion to dismiss or convert under section 707(b) or file a statement setting forth the reasons the United States
Trustee does not consider such a motion to be appropriate. Debtor(s) may rebut the presumption of abuse only if
special circumstances can be demonstrated as set forth in 11 U.S.C. Sec.707(b)(2)(B). Filed by U.S. Trustee Daniel
M. McDermott. (Evans, Claretta)



Dated: 4/11/11

                                                              United States Trustee




      11-44385-wsd           Doc 11      Filed 04/13/11         Entered 04/14/11 00:41:54             Page 1 of 2
                                                United States Bankruptcy Court
                                                Eastern District of Michigan
 In re:                                                                                                     Case No. 11-44385-wsd
 Angela Sword Lewis                                                                                         Chapter 7
 Thomas K. Lewis
          Debtors
                                                  CERTIFICATE OF NOTICE
 District/off: 0645-2                  User: tclay                        Page 1 of 1                          Date Rcvd: Apr 11, 2011
                                       Form ID: ntcabuse                  Total Noticed: 27


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Apr 13, 2011.
 db            +Angela Sword Lewis,    560 Meadowbrook,    Adrian, MI 49221-1384
 jdb           +Thomas K. Lewis,    1016 Lincoln, Apt. #1,    Bettendorf, IA 52722-4155
 19758033      +ABN AMRO Mortgage Group, Inc.,     5280 Corporate Drive, MC 22-528-1020,    Frederick, MD 21703-8351
 19758034      +Advanced Radiology, S.C.,     615 Valley View Dr., Ste. 202,    Moline, IL 61265-6180
 19758036      +Bank Of America,    P.O. Box 15026,    Wilmington, DE 19850-5026
 19758035      +Bank Of America,    P.O. Box 15726,    Wilmington, DE 19886-5726
 19758041    ++COMCAST,     41112 CONCEPT DR,    PLYMOUTH MI 48170-4253
               (address filed with court: Comcast,      P.O. Box 3006,   Southeastern, PA 19398)
 19758037      +Cable Equipment Services, Inc.,     13199 Francis Road,    DeWitt, MI 48820-9209
 19758038      +Citimortgage,    P.O. Box 183040,    Columbus, OH 43218-3040
 19758039      +Citizens Gas Fuel Co.,    127 N. Main St.,    Adrian, MI 49221-2711
 19758040      +City Of Adrian,    135 E. Maumee St.,    Adrian, MI 49221-2703
 19758042      +Consumers Energy,    Lansing, MI 48937-0001
 19758043      +Credit Protection Association, LP,     13355 Noel Road,    Dallas, TX 75240-6602
 19758044      +Fifth Third Bank,    1830 East Paris,    Grand Rapids, MI 49546-8803
 19758046      +HSBC Bank,    P.O. Box 5253,    Carol Stream, IL 60197-5253
 19758047      +Iowa Health Physicians,    P.O. Box 1455,    Des Moines, IA 50306-1455
 19758048      +Karle Nursery & Landscaping, LLC,     P.O. Box 13,   Tipton, MI 49287-0013
 19758050      +Northstar Location Services, LLC,     4285 Genesse Street,    Cheektowaga, NY 14225-1943
 19758051      +RAB, Inc.,    P.O. Box 34111,    Memphis, TN 38184-0111
 19758052      +Sears Card,    P.O. Box 6241,    Sioux Falls, SD 57117-6241
 19758053       Sears/CBSD,    133200 Smith Road,    Cleveland, OH 44130
 19758054      +Sunrise Credit Services, Inc.,     P.O. Box 9100,   Farmingdale, NY 11735-9100
 19758055      +TekCollect,    P.O. Box 1269,    Columbus, OH 43216-1269
 19758057      +University Of Michigan Hospital,     P.O. Box 77000; Dept. 77914,    Detroit, MI 48277-2000

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 19758045     +E-mail/PDF: gecsedi@recoverycorp.com Apr 12 2011 00:16:10     GEMB/JC Penneys,    P.O. Box 981402,
                El Paso, TX 79998-1402
 19758049     +E-mail/PDF: cr-bankruptcy@kohls.com Apr 12 2011 00:12:57     Kohl’s,   P.O. Box 3043,
                Milwaukee, WI 53201-3043
 19758056     +E-mail/Text: support@ucscollections.com Apr 11 2011 21:57:07     Universal Credit Services,
                3582 Avon St.,   Hartland, MI 48353-7707
                                                                                              TOTAL: 3

               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 ust              Daniel M. McDermott
                                                                                                                     TOTALS: 1, * 0, ## 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.

 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Apr 13, 2011                                       Signature:




             11-44385-wsd           Doc 11        Filed 04/13/11          Entered 04/14/11 00:41:54                Page 2 of 2
